1117- -OOZSZ-RC D 115 F'|€d 12/01/17 PB_ € 1 Of 1 232 (
United States of Am§e;r§§e Cr uNITED STR'?'Lér§eS|STR|bT COURT g Case No. l 762 Q)
¢ ~ ___V_`_ _ FOR THE DlSTRICT OF CQLUMBlA
Michcte/i l . i:i\{'m

 

Defendant`s name

YOU ARE RELEASED ON THE FOLL°W|NG ADD|T|ONAL CoNDlTlONS lNDlCATED BEL°W:

PERSONAL PERSONAL RECOGNIZANCE. Your personal recognizance, provided that you promise to appear at all scheduled hearings, trials, or
PROM|SE otherwise as required by the Court.

UNSECURED APPEARANCE BOND. Your personal unsecured appearance bond, to be forfeited should you fail to appear as re-
quired by the Court.

CASH BOND. Upon execution of appearance bond, to be forfeited should you fail to appear as required by the Court, secured by a
deposit, such deposit to be returned when the Court determines you have performed the conditions of your release. You will deposit in

 

 

OF the registry of the Court %,

El:lE

 

SURETY BOND. Upon execution of appearance bond with approved surety.

 

 

 

YOU ARE HEREBY RELEASED 0N THE CoNDlTlCNS lNDlCATED BEL°W:

 

You hereby agree to be placed in the custody of______>

who agrees (a), to supervise you in accordance with the conditions below,

SuPER' (b), to use every effort to assure your appearance at all scheduled hearings,
:l 1) VlSORY trials, or otherwise, and (c), to notify the D.C. Pretrial Services Agency im-
CUSTODY mediately in the event you violate any condition of release or disappear. Agency

 

Custodian`s name

 

Custodian's address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tele hone 442-1000
p >
SlGNATURE OF CUSTODIAN Custodian's phone no.
\‘)
YO¥(§RE g Weekly \:] in person XTHE D.C. PRETRIAL SERVlCES AGENCY¢,?\'Id?lZ-IOOO. ,
w 2) REPORT m T \ by phOrlC l o ij Your attorney, whose name and address is shown below.
ot er-speci y
l` /
E at §§ /I~J'f»€/L 635 \/("
YoU ARE iddress phone no
g 3) To [i with
L|VE name and relationship to defendant phone no.
g at being in at night by P.M.
address phone no time
You ARE |:] by obtaining a job within days and reporting it to the D.C. Pretrial Services Agency at 442-1000
ij 4a) 4 ~
b t ob a
To WORK l::i y main ammg yourJ S Emp|oyer's name and address
:i by enrolling in school at
name and address
YOU ARE
maintainin our stu ent status at
[]4'») D E by~~~gy d dad
nam¢ an 3 \’ESS
{:! 5) 1Y_8USTAARvE E away from the complaining witness. ij Within the D.C. area.
E 6) NARooncs
g 7) OTHER
CONDI'HON
m 8) REARREST Any rearrest on probable cause for any subsequent offense may result in revoking your present bond and setting it at

 

 

 

You are instructed that any violation of a condition of release may result in revocation of release, pretrial detention or contempt. If you willfully fail to appear as
required, you will be subject to prosecution and if convicted, the maximum penalties are indicated on the reverse side. Furthermore, your release is subject to the

terms and conditions contained on the reverse side which are incorporated in and made a part of this order, which by your signature below you certify you have
read and understand

 
  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

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DUE C,DV\‘D é> B‘~L*'i\_n name 2)
or when notified and you tinued dates. cm " am -
BACK You must also appear .ZD Sh/ Na) . 2 '
ddress phone no.
DEFENDANT'S /" I understand the penalties which may be imposed on me for willful failure to appear
> !,<LA/_F__` or for violation of any condition of release and agree to comply with the conditions
§@NATURE of my release and to appear as required.
WlTNESSED BY \/ \l/V)K/ (title and agency) /ts jj
YOU ARE NOTIFY MEDIATELY THE D.C. PRETRIAL SERVlCES AGENCY, 500 INDIANA AVE., N.W., FIRST FLOOR, TELE-
IMPORTANTZ §I(~§CI\)INDFTII\I(§JNNS[ -1000, OF ANY CHANGE OF ADDRESS, EMPLOYMENT, OR CHANGE IN STATUS OF ANY RELEASE

 

 

 

wHiTE-To couFiT PAPEHS SO ORDERED
ghg§u:cid%DCGEPRETRiAL sEi=tvicEs AGENCY Date \9`;/`/2'0 \ 7 > M W/____

CANAFrv -TO DEFENSE ATTORNEY
PlNK -TO LJ S ATTORNEY v
Signature of Judge

GoLoENRoD _To DEFENDANT /

